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               Exhibit 11
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         Infringement Claim Chart for U.S. Pat. No. US8831205B1 Vs YouTube (“Defendant”)


    Claim7                                               Evidence
7) A method for   The YouTube platform with system-generated follow recommendations performs a
defining          method for defining mutually exclusive communication channels between users.
mutually
exclusive         For example, the platform automatically generates follow recommendations based on
communication     user profiles. There are different types of follow recommendations including a
channels          connection with another user via that user’s channel. Each such follow recommendation
between users,    is unique and therefore mutually exclusive from all others. Each follow recommendation
comprising:       is delivered to the user for whom the recommendation is made, thereby defining a
                  mutually exclusive communication channel between that user and the other user.




                  Source: https://www.digitalunite.com/tv-video/youtube/what-youtube




                  Source: https://edu.gcfglobal.org/en/youtube/what-is-youtube/1/#




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Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/
recommendations/




Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/
recommendations/




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Source: https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/




Source: https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/




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                 Source: https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/




                 Source:
                 https://blog.hootsuite.com/how-the-youtube-algorithm-works/#How_YouTube_determine
                 s_the_algorithm

a) maintaining   The YouTube platform with system-generated follow recommendations maintains a
a plurality of   plurality of user profiles for a plurality of users, each user profile comprising a plurality




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user profiles for   of user characteristics.
a plurality of
users, each         For example, the platform maintains a profile for each user. The profile includes user
user profile        characteristics entered by the user such as the user’s name, photo, YouTube handle,
comprising a        logo, and country location. The profile can also include system-derived characteristics of
plurality of user   the user based on the user’s past use of the platform such as the user’s watch and
characteristics;    search history, the channels the users subscribes to, and the content that the user has
                    liked and disliked.




                    Source: https://blog.hootsuite.com/how-to-create-a-youtube-account-channel/




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Source: https://blog.hootsuite.com/how-to-create-a-youtube-account-channel/




Source: https://www.digitalunite.com/tv-video/youtube/what-youtube




Source: https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/




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                 Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/
                 recommendations/




                 Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/
                 recommendations/
b) receiving a   The YouTube platform with system-generated follow recommendations receives a
plurality of     plurality of requests for mutually exclusive communication channels among respective




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requests for       users from the plurality of users.
mutually
exclusive          For example, when a user submits a completed profile, that submission represents a
communication      request from the user for the platform to automatically generate, for the user, at least
channels among     one follow recommendation. The follow recommendation represents a mutually exclusive
respective users   communication channel between two users that are the subject of the follow
from the           recommendation. The platform has multiple users and therefore receives a plurality of
plurality of       such requests.
users;




                   Source: https://blog.hootsuite.com/how-to-create-a-youtube-account-channel/




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Source: https://blog.hootsuite.com/how-to-create-a-youtube-account-channel/




Source: https://www.digitalunite.com/tv-video/youtube/what-youtube




Source: https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/




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                  Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/
                  recommendations/




                  Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/
                  recommendations/

c) performing a   The YouTube platform with system-generated follow recommendations performs a




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combinatorial      combinatorial optimization with an automated processor, to predict a net benefit of the
optimization       mutually exclusive communication channels between respective users of the plurality of
with an            users, for optimization criteria representing a net value of each respective mutually
automated          exclusive communication channel for a plurality of mutually exclusive communication
processor, to      channels, based on at least the plurality of user profiles.
predict a net
benefit of the     For example, as an algorithm-assisted social media platform, YouTube strives to provide
mutually           follow recommendations that will be seen as favorable to as many users of the platform
exclusive          as possible. This means that, as optimization criteria, the platform seeks to maximize the
communication      overall value, or net benefit, of follow recommendations that are presented to the users
channels           of the platform. The value of each follow recommendation is based on the characteristics
between            in the user profiles of the users that are the subject of that follow recommendation. A
respective users   processor in the platform determines, for each potential follow recommendation, a net
of the plurality   value of the potential follow recommendation. To meet the optimization criteria, the
of users, with     platform selects, from the potential follow recommendations, a set of follow
respect to an      recommendations to present to the users that have a maximum net benefit to the users
optimization       of the platform.
criteria
representing a
net value of
each respective
mutually
exclusive
communication
channel for a
plurality of
mutually           Source: https://www.digitalunite.com/tv-video/youtube/what-youtube
exclusive
communication
channels, based




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on at least the
plurality of user
profiles; and




                    Source: https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/




                    Source:
                    https://blog.hootsuite.com/how-the-youtube-algorithm-works/#How_YouTube_determine
                    s_the_algorithm




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                  Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/
                  recommendations/




                  Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/
                  recommendations/

d) storing in a   The YouTube platform with system-generated follow recommendations stores in a




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memory a            memory a description of an optimum set of mutually exclusive communication channels.
description of an
optimum set of      For example, for a user to access the system-generated follow recommendations that
mutually            the platform has selected to present to the user when the user logs into the platform, the
exclusive           platform stores these follow recommendations in a memory associated with the platform.
communication       This is done for all users of the platform, which means that the entire set of system-
channels.           generated follow recommendations that the platform has selected to meet the
                    optimization criteria are stored.




                    Source: https://www.digitalunite.com/tv-video/youtube/what-youtube




                    Source: https://edu.gcfglobal.org/en/youtube/what-is-youtube/1/#




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Source: https://blog.hootsuite.com/how-to-create-a-youtube-account-channel/




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Source: https://blog.hootsuite.com/how-to-create-a-youtube-account-channel/




Source: https://www.digitalunite.com/tv-video/youtube/what-youtube




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Source:
https://blog.hootsuite.com/how-the-youtube-algorithm-works/#How_YouTube_determine
s_the_algorithm




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Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/
recommendations/




Source: https://www.youtube.com/intl/ALL_in/howyoutubeworks/product-features/
recommendations/




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